              Case 3:20-cr-00126-VC        Document 51        Filed 12/02/22    Page 1 of 6




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 CHRIS KALTSAS (NYBN 5460902)
   Assistant United States Attorney
 5
          450 Golden Gate Ave., Box 36055
 6
          San Francisco, California 94102
 7        Telephone: 415.436.7200
          Fax: 415.436.7234
 8        Email: chris.kaltsas2@usdoj.gov

 9 Attorneys for the United States of America

10
                                        UNITED STATES OF AMERICA
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13
     UNITED STATES OF AMERICA,                       ) Case No. CR 20-0126 VC
14                                                   )
             Plaintiff,                              ) APPLICATION OF THE UNITED STATES FOR
15                                                   ) PRELIMINARY ORDER OF FORFEITURE
        v.                                           )
16                                                   )
     RICHARD EUGENE HARTMAN,                         )
17                                                   )
                                                     )
18           Defendant.                              )

19           The United States of America, by and through the undersigned Assistant United States Attorney,
20 respectfully submits this Application of the United States for Issuance of a Preliminary Order of

21 Forfeiture. The property subject to the proposed Preliminary Order of Forfeiture is property seized in

22 the investigation, as follows (hereinafter “the subject property”):

23           •   HP Desktop PC, serial number 8CG8454F6X;
24           •   Crucial 250 GB SSD, serial number 1510F003C119;
25           •   Seagate 1000 GB HDD, serial number S4Y22M0X;
26           •   PNY 128 GB USB Drive and
27           •   Lenovo Laptop PC, serial number YB07935834.
28
              Case 3:20-cr-00126-VC         Document 51       Filed 12/02/22      Page 2 of 6




 1          Factual Background

 2          On March 11, 2020, defendant Richard Hartman was charged by an Indictment with violation of

 3 Title 18, United States Code, Sections 2252(a)(4)(B) and (b)(2) (Possession of Child Pornography). The

 4 Indictment sought criminal forfeiture, pursuant to Title 18, United States Code, Section 2253(a) and

 5 Title 28, United States Code, Section 2461(c) (Criminal Forfeiture) of the following property, including

 6 but not limited to:

 7          •   HP Desktop PC, serial number 8CG8454F6X;
 8          •   Crucial 250 GB SSD, serial number 1510F003C119;
 9          •   Seagate 1000 GB HDD, serial number S4Y22M0X;
10          •   PNY 128 GB USB Drive and
11          •   Lenovo Laptop PC, serial number YB07935834.
12 Dkt. 11.

13          On October 27, 2020, defendant Richard Hartman, pled guilty pursuant to a plea agreement to

14 Count One of the Indictment, namely, possession of child pornography in violation of Title 18, United

15 States Code, Sections 2252(a)(4)(B) and (b)(2) Dkt. 30.

16          The defendant further admitted that the subject property was involved in the offense and thus, is

17 forfeitable to the United States pursuant to Title 18, United States Code, Section 2253(a).

18          The defendant was sentenced on May 18, 2021 and Judgment was entered into the docket on

19 May 26, 2021, and as part of the Judgment, the Court ordered the forfeiture of the subject property.

20 Dkt. 48 at 10.

21      The accompanying proposed Preliminary Order of Forfeiture is requested to complete the forfeiture

22 process.

23          Basis for a Preliminary Order of Forfeiture

24          Rule 32.2 of the Federal Rules of Criminal Procedure addresses criminal forfeiture procedure.

25 Rule 32.2(b)(1)(A) provides that as soon as practicable after entering a guilty verdict or accepting a plea

26 of guilty or nolo contendere on any count in an indictment or information with regard to which criminal

27 forfeiture is sought, the court shall determine what property is subject to forfeiture under the applicable

28 statute. If forfeiture of specific property is sought, the court shall determine whether the government has

     APPLICATION OF THE UNITED STATES FOF A PRELIMINARY ORDER OF FORFEITURE
     CR 20-0126 VC                                 2
              Case 3:20-cr-00126-VC           Document 51         Filed 12/02/22       Page 3 of 6




 1 established the requisite nexus between the property and the offense. If the government seeks a personal

 2 money judgment against the defendant, the court shall determine the amount of money that the

 3 defendant will be ordered to pay.

 4           Rule 32.2(b)(1)(B) provides that the court's determination may be based on evidence already in

 5 the record, “including any written plea agreement[.]” If the forfeiture is not agreed to but rather

 6 contested, the court may determine the nexus of the specific property to the offense based on evidence or

 7 information before the Court or presented by the parties at a hearing after the verdict or finding of guilt.

 8           Rule 32.2(b)(2) states that if the court finds that property is subject to forfeiture, it shall enter a

 9 preliminary order of forfeiture setting forth the amount of any money judgment or directing the

10 forfeiture of the specific property without regard to any third party's interest in all or part of it. As to the

11 interest of third parties, the rule provides that, “Determining whether a third party has such an interest

12 must be deferred until any third party files a claim in the subsequent ancillary proceeding under Rule

13 32.2(c).” The ancillary proceeding can be completed once the preliminary order of forfeiture becomes

14 final as to the defendant, upon the court announcing such at sentencing and including it in the judgment,

15 per Rule 32.2(b)(4).

16           Rule 32.2(b)(3) provides that the entry of a preliminary order of forfeiture authorizes the

17 Attorney General (or a designee) to seize the specific property subject to forfeiture; to conduct any

18 discovery the court considers proper in identifying, locating, or disposing of the property; and to
19 commence proceedings that comply with any statute governing third-party rights. The court may

20 include in the order of forfeiture any conditions reasonably necessary to preserve the property's value

21 pending any appeal.

22           Rule 32.2(b)(4) further provides that at sentencing, or at any time before sentencing if the

23 defendant consents, the order of forfeiture becomes final as to the defendant and shall be made part of

24 the sentence and must be included in the judgment.

25           The United States has established the sufficient requisite nexus between the subject property and

26 the offense. The defendant pled guilty on October 27, 2020 to Count One of the Indictment, which

27 charged his possession of the subject property. Dkt. 30. Accordingly, the subject property is “involved

28 in” the violation of Title 18, United States Code, Sections 2252(a)(4)(B) and (b)(2) and is subject, as

     APPLICATION OF THE UNITED STATES FOF A PRELIMINARY ORDER OF FORFEITURE
     CR 20-0126 VC                                 3
              Case 3:20-cr-00126-VC           Document 51        Filed 12/02/22       Page 4 of 6




 1 alleged in the Indictment, to forfeiture to the United States pursuant to Title 18, United States Code,

 2 Section 2253(a) and Title 28, United States Code, Section 2461(c).

 3           Procedure Following Issuance of Preliminary Order of Forfeiture

 4           Upon the issuance of a Preliminary Order of Forfeiture and pursuant to Title 21, United States

 5 Code, Section 853(n), and Rule G(4)(a)(iv) of the Supplemental Rules for admiralty or Maritime Claims

 6 and Asset Forfeiture Actions, the United States will publish on www.forfeiture.gov, a government

 7 website for at least thirty days, notice of this Order, notice of its intent to dispose of the property in such

 8 manner as the Attorney General may direct, and notice that any person, other than the defendant, having

 9 or claiming a legal interest in the property must file a petition with the Court and serve a copy on Chris

10 Kaltsas, Assistant United States Attorney, 450 Golden Gate Avenue, Box 36055, San Francisco, CA

11 94102, within thirty (30) days of the final publication of notice or of receipt of actual notice, whichever

12 is earlier. This notice shall state that the petition shall be for a hearing to adjudicate the validity of the

13 petitioner's alleged interest in the property, shall be signed by the petitioner under penalty of perjury,

14 shall set forth the nature and extent of the petitioner's right, title or interest in the forfeited property, and

15 any additional facts supporting the petitioner's claim and the relief sought. The United States may also,

16 to the extent practicable, provide direct written notice to any person known to have alleged an interest in

17 the property that is the subject of the Preliminary Order of Forfeiture, as a substitute for published notice

18 as to those persons so notified.
19           Request for Preliminary Order of Forfeiture

20           The United States therefore moves this Court to enter the accompanying proposed Preliminary

21 Order of Forfeiture which provides for the following:

22           a. authorizes the forfeiture of the subject property to the United States;

23           b. directs the United States, through its appropriate agency, to seize the forfeited property

24 forthwith;

25           c. authorizes the government to conduct discovery in order to identify, locate, or dispose of

26 property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal Rules of Criminal

27 Procedure;

28

     APPLICATION OF THE UNITED STATES FOF A PRELIMINARY ORDER OF FORFEITURE
     CR 20-0126 VC                                 4
             Case 3:20-cr-00126-VC          Document 51        Filed 12/02/22     Page 5 of 6




 1          d. directs the United States to publish on a government website for at least thirty days, notice of

 2 this Order, notice of the government’s intent to dispose of the property in such manner as the Attorney

 3 General may direct and provide notice that any person, other than the defendant, having or claiming a

 4 legal interest in the subject property must file a petition with the Court and serve a copy on government

 5 counsel within thirty (30) days of the final publication of notice or of receipt of actual notice, whichever

 6 is earlier; and

 7          e.   the Court retains jurisdiction to enforce the Preliminary Order of Forfeiture, and to amend it

 8 as necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

 9 Dated: 12/2/22                                         Respectfully submitted,

10                                                        STEPHANIE M. HINDS
                                                          United States Attorney
11

12                                                                   /S/
                                                          CHRIS KALTSAS
13                                                        Assistant United States Attorney

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     APPLICATION OF THE UNITED STATES FOF A PRELIMINARY ORDER OF FORFEITURE
     CR 20-0126 VC                                 5
                Case 3:20-cr-00126-VC        Document 51     Filed 12/02/22      Page 6 of 6




 1                                      CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that she is an employee in the Office of the United States
 3 Attorney for the Northern District of California and is a person of such age and discretion to be

 4 competent to serve papers. The undersigned further certifies that she caused a copy of the following

 5 documents:

 6          •        APPLICATION FOR A PRELIMINARY ORDER OF FORFEITURE;
 7          •        [PROPOSED] PRELIMINARY ORDER OF FORFEITURE
 8 to be served this date by CM/ECF Electronic Case Filing Notification upon the person below at the

 9 place and address which is the last known address:

10   Angela Hansen
     Office of the Federal Public Defender
11
     1301 Clay Street, Suite 1350N
12   Oakland, CA 94612
     Attorney for Richard Hartman
13
            I declare under penalty of perjury under the laws of the United States of America that the
14
     foregoing is true and correct to the best of my knowledge.
15
            Executed this 2nd day of December, 2022, at San Francisco, California.
16

17                                                _______/S/______________
                                                  CAROLYN CAPARAS
18
                                                  FSA Paralegal
19                                                Asset Forfeiture Unit

20

21

22

23

24

25

26

27

28

     APPLICATION OF THE UNITED STATES FOF A PRELIMINARY ORDER OF FORFEITURE
     CR 20-0126 VC                                 6
